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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 20-3556-GW-MRWx                                            Date      August 24, 2020
 Title             David Jennings v. United West Recovery, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            None Present
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None Present                                          None Present
 PROCEEDINGS:                IN CHAMBERS - FURTHER RULING ON PLAINTIFF'S MOTION
                             FOR ENTRY OF DEFAULT JUDGMENT AGAINST DEFENDANT
                             UNITED WEST RECOVERY a/k/a AMERI-WEST SERVICES [19]


         Plaintiff moved for a default judgment against Defendant United West Recovery. See Docket No.
19. The Court issued a tentative ruling on July 2, 2020, which denied the motion without prejudice and
required supplemental submissions. See Docket No. 22. Subsequent filings were made. See Docket No.
23-24, 27. On August 21, 2020, this Court sent to Plaintiff a new tentative ruling indicating that it had no
problems with the motion except that it needed evidence that a separate agreement authorizing the
commercial mail receiving agency (“CMRA”, herein Postal Connections) to act as an agent for service of
process plus other documentation. On August 23, 2020, Plaintiff submitted evidence of United’s written
agreement authorizing Postal Connections to act as its agent for service of process. See Docket No. 30-1
at 5-6 of 6. At today’s hearing, the Court indicated it would review Plaintiff’s last submission and respond
if further material was needed. Having done so, it concludes that there remains no additional item to show
that service was completed.
         If a party relies on service through Bus. & Prof. Code § 17538.5, it has to show that all of the
statute’s requirements as to the CMRA are followed. See Premier Capital, LLC v. North Aircraft Serv., Inc.,
No. C053396, 2007 WL 1464623, *6 (Cal. Ct. App. 2007) (“We conclude a plaintiff relying on service of
a defendant by substituted service on a commercial mail receiving agency (CMRA) under section 17538.5
must submit an affidavit or proof of service showing compliance with the requirements for service under
section 17538.5, including evidence of the CMRA's mailing of the documents to the last known address of
its mail receiving customer or former customer.”) (Emphasis added). This is referring to Section 17538.5’s
requirement that:
         Upon receipt of any process for any mailbox service customer, the CMRA owner or operator
         shall (A) within 48 hours after receipt of any process, place a copy of the documents or a

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                                                               Initials of Preparer   JG
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        notice that the documents were received into the customer's mailbox or other place where
        the customer usually receives his or her mail, unless the mail receiving service for the
        customer was previously terminated, and (B) within five days after receipt, send all
        documents by first-class mail, to the last known home or personal address of the mail
        receiving service customer. The CMRA shall obtain a certificate of mailing in connection
        with the mailing of the documents. Service of process upon the mail receiving service
        customer shall then be deemed perfected 10 days after the date of mailing.
        Plaintiff hasn’t provided any such affidavit showing that the CMRA (Postal Connections) followed
those procedures with Plaintiff’s service of United. While it may seem formalistic, the courts appear to
follow the requirements strictly. See, e.g., Aussieker v. Lee, No. 19-cv-00365, 2020 WL 3961951, at *2
(E.D. Cal. July 13, 2020) (“Additionally, plaintiff has failed to satisfy Section 17538(d)(1), which requires
commercial mail receiving agencies, within 48 hours after receipt of any process to ‘place a copy of the
documents or a notice that the documents were received into the customer’s mailbox or other place where
the customer usually receives his or her mail, unless the mail receiving service for the customer was
previously terminated.’ Cal. Bus. & Prof. Code § 17538.5(d)(1). The attestation provided by plaintiff, while
declaring that process was sent to defendant’s last-known address, does not include any mention of placing
copies in defendant’s mailbox nor does it include any mention that defendant terminated his service.”
        Plaintiff will submit the necessary material at it earliest convenience.




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                                                           Initials of Preparer   JG
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